 Case 1:11-cr-00012-KD-N          Doc# 10         Filed 03/17/11   Page 1 of 2   PageID# 37




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA                      *
                                              *
vs.                                           *        CRIMINAL NO.: 11-0012-KD
                                              *
LEROY WATERS,                                 *
                                              *
       Defendant.                             *

                                             ORDER

       This matter is before the court on consideration of the joint request by counsel for the

Defendant, Christ Coumanis, Esquire and AUSA Christopher Bodnar that the trial of this action

be continued into the May 2011 criminal term.1

       Upon consideration of the grounds presented and the Court’s record, the Court finds that

neither the defendant nor the United States will be unduly prejudiced by a continuance of this

trial into the May 2011 criminal term; therefore, the defendant’s motion is GRANTED and the

trial is CONTINUED.        The trial will be rescheduled for May, 2011, with jury selection

rescheduled for May 2, 2011.

       The Court further finds, pursuant to 18 U.S.C.§ 3161(h)(7)(A), that “the ends of justice

served by taking such action outweighs the best interest of the public and the defendant in a

speedy trial.” There are two primary reasons for this decision.

       First, the charges against Mr. Waters are that on December 5, 2008, he made five

separate false entries in documents filed in a bankruptcy proceeding. He was arraigned on these

charges on February 16, 2011 and this is his first request for a continuance.
       1
        The joint motion for a continuance was presented orally during the pretrial conference
held on March 15, 2011.
 Case 1:11-cr-00012-KD-N          Doc# 10       Filed 03/17/11     Page 2 of 2       PageID# 38




        Second, these charges are believed to spring from a much larger conspiracy, according to

Mr. Bodnar, and he anticipates a new indictment during the last week in March that will

implicate this defendant in new charges and will require the disclosure of a new round of

discovery. The defendant and his attorney have been made aware of this possibility and Mr.

Coumanis also believes that a new indictment is inevitable.

        Counsels’ valid reasons for an extension of the pretrial preparation period in order to

consider a reasonable settlement of the charges or to otherwise prepare for trial justify the

continuance that they seek. See 18 U.S.C. § 3161(h)(7)(B)(iv). Therefore, for the purposes of

the Speedy Trial Act, any delay resulting from this continuance is excludable pursuant to 18

U.S.C. § 3161(h)(7)(A) (excluding “[a]ny period of delay resulting from a continuance granted

by any judge…if the judge granted such continuance on the basis of his findings that the ends of

justice served by taking such action outweigh the best interest of the public and the defendant in

a speedy trial.”)

        Defendant shall file a personal waiver of his Speedy Trial rights that will cover the period

from March 15, 2011 to the trial setting for the May 2011 criminal term not later than March 28,

2011. The Clerk of the Court is directed to refer this matter to the appropriate Magistrate Judge

for scheduling a new pretrial conference.

        DONE AND ORDERED this 16th day of March, 2011.

                               s/WILLIAM E. CASSADY
                              UNITED STATES MAGISTRATE JUDGE
